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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       August 18, 2021
VIA ECF
The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

        Re:    United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter in response to footnote 1 of the Court’s

Opinion and Order denying the defendant Ghislaine Maxwell’s supplemental pretrial motions.

(Dkt. No. 317). In that footnote, the Court noted that the defendant’s motion for a bill of particulars

included a request that the Government identify her unnamed co-conspirators, as did her position

in the parties’ joint letter regarding the disclosure schedule. The Court wrote that, because the

Government had not objected, it “presumes the Government intends to disclose this information

to Maxwell at the same time that . . . it discloses Jencks Act material.” (Id. at 12 n.1). To be clear,

the Government objects to any requirement that it provide an exhaustive list of co-conspirators,

whether in a bill of particulars or otherwise, and does not intend to do so absent further order of

the Court. 1


1
  The Government has opposed the defendant’s requests for such a list as part of its opposition to
the defense motions for a bill of particulars. In the parties’ joint letter regarding the disclosure
schedule, the defendant sought early disclosure of both the identities of unindicted co-conspirators
and their statements. (Dkt. No. 291 at 7-8, 10-13). The Government took the position that the
defense could “receive notice of any co-conspirator statements through Jencks Act materials and
marked exhibits.” (Id. at 5). The Government also noted that “[t]he cases cited by the defense all
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       The Government will produce Jencks Act material and its proposed exhibit list

substantially in advance of trial, and respectfully submits that nothing more is required in this

regard. Although it is not required to do so, the Government can state that—as of the date of this

letter, and although the Government may change its view as it prepares for trial—it currently

intends to introduce co-conspirator statements at trial from only two individuals, both of whom

are specified in the S2 Indictment: Jeffrey Epstein and the employee of Epstein’s referenced in

paragraph 25(d) of the S2 Indictment. There is accordingly no significant risk that the defense will

be surprised at trial by a profusion of co-conspirators and their statements, even if the Government

identifies statements for use at trial from additional co-conspirators.

       In any event, there is no basis to require the Government to provide a bill of particulars

containing an exhaustive list of unnamed co-conspirators. This Court has twice concluded that no

bill of particulars is warranted because the defendant has adequate information to prepare for trial

and avoid unfair surprise. (Dkt. No. 207 at 19-21; Dkt. No. 317 at 11-12). The same analysis

applies to the defendant’s request that the Government identify her unnamed co-conspirators. See

United States v. Murgio, 209 F. Supp. 3d 698, 721 (S.D.N.Y. 2016) (“[C]ourts in this circuit

frequently exercise their discretion to deny requests to identify co-conspirators through a bill of

particulars.”). The S2 Indictment already contains “more details than those strictly required.” (Dkt.

No. 207 at 20 (discussing the S1 Indictment)). The Government has provided the defendant with

extensive discovery that she has largely had in her possession for months, and it will provide


involved orders granting bills of particulars requiring the Government to provide a list of all
alleged coconspirators,” and the Government had separately opposed the defense supplemental
motion for a bill of particulars. (Id. at 5). In that motion, the defense requested the identities of
co-conspirators in Count Five as part of its motion for a bill of particulars. (Dkt. No. 293 at 24).
The Government opposed that motion, albeit without specific reference to the identities of co-
conspirators. (Dkt. No. 295 at 17-20). The Government regrets any confusion on this point.
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witness statements in Jencks Act material and a proposed exhibit list seven weeks before trial—

before motions in limine are due, and earlier than is typical in this district even in complex cases.

Finally, given the nature of the conspiracy, the defendant is likely already aware of the identities

of persons who could be considered to be co-conspirators. See United States v. Ray, No. 20 Cr.

110 (LJL), 2021 WL 3168250, at *5 (S.D.N.Y. July 27, 2021) (“This is not a case where a

defendant is likely to be surprised by the identity of co-conspirators, whom he may never have

met.” (internal quotation marks and alterations omitted)).

         By contrast, requiring the Government to identify a complete list of co-conspirators risks

“harm to the Government from restricting its proof at trial.” (Dkt. No. 317 at 11 (citing United

States v. Rajaratnam, No. 09 Cr. 1184 (RJH), 2010 WL 2788168, at *1 (S.D.N.Y. Jul. 13, 2010)).

Ordering the Government to provide a bill of particulars containing an exhaustive list of the

defendant’s uncharged co-conspirators when Jencks Act material is produced would require the

Government to commit to a particular view of those co-conspirators and provide that preview of

the Government’s case to the defense seven weeks before trial. See Rajaratnam, 2010 WL

2788168, at *1 (“[A] bill of particulars confines the government’s evidence at trial to the

particulars furnished.” (internal quotation marks omitted)). That is far more than is required by

Rule 7(f). A defendant is “not entitled to a bill of particulars setting forth the ‘whens,’ ‘wheres,’

and ‘with whoms’ regarding a conspiracy.” Ray, 2021 WL 3168250, at *6 (alteration and internal

quotation marks omitted) (collecting cases). 2


2
  The cases the defendant cites are inapposite. (Dkt. No. 291 at 11). See United States v. Bin
Laden, 92 F. Supp. 2d 225, 241 (S.D.N.Y. 2000) (ordering the Government to identify alleged co-
conspirators in a case that involved “at least 20” co-conspirators, many of whom used “several
aliases and/or code names to conceal their identities,” so it was difficult for defense counsel to
“decipher the identities of alleged co-conspirators”); United States v. Pinto-Thomaz, 352 F. Supp.
3d 287, 303 (S.D.N.Y. 2018) (ordering the Government to confirm its representation that there
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       Insofar as the defendant claims that identification of uncharged co-conspirators is

necessary for her to interpose objections to the admissibility of co-conspirator statements (Dkt.

No. 291 at 10-11), such an argument “misunderstands the hearsay exception for the statements of

co-conspirators.” Murgio, 209 F. Supp. 3d at 722. The hearsay exception is “rooted in agency

law and is not constrained by the text of an indictment.” Id. Accordingly, a co-conspirator

statement may be admissible even if the conspiracy is not one charged in the indictment. And if

the Government is not required to charge a conspiracy in the indictment in order to introduce

statements by the defendant’s co-conspirators in that conspiracy, it surely cannot be required to

provide a bill of particulars as to a conspiracy charged in the indictment for that same purpose.

See id. at 723.

       In sum, the Government respectfully submits that the Court should not require the

Government to provide an exhaustive list of co-conspirators, whether in a bill of particulars or

otherwise.

                                                  Respectfully submitted,

                                                  AUDREY STRAUSS
                                                  United States Attorney

                                            By:              /s/
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Cc:    All counsel of record (by ECF)

were only two co-conspirators or identify any others, which would “meaningfully alter the nature
of the charges”); United States v. Akhavan, No. 20 Cr. 188, 2020 WL 2555333, at *2 (S.D.N.Y.
May 20, 2020) (ordering the Government to identify alleged co-conspirators who “represented
several distinct organizations” over three years, “creat[ing] the possibility that different co-
conspirators may have been involved at different times,” presenting a high risk of surprise).
